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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION
RODNEY L. SCOTT,                      )
                                      )
      Movant,                         )
                                      )
v.                                    )      Case No. CV615-106
                                      )                CR612-018
UNITED STATES OF AMERICA,             )
                                      )
      Respondent.                     )


                                     ORDER

      Movant Rodney Scott moves under 28 U.S.C. § 2255 to vacate his

conviction and sentence imposed in CR612-018, doc. 1149; see also doc.

1151 at 50 (“Vacate Movant’s Conviction and Sentence in this case”).

The Court has yet to rule on it. Yet, Scott has filed a motion for relief

pursuant to Fed. R. Civ. P. 60(b)(6). Doc. 1273. As Rule 60(b)(6) only

authorizes relief from a “final judgment, order, or other proceeding” and

there has not yet been any final order, judgment, or other proceeding,

Scott’s motion is premature and must be denied on that basis. 1 See


1
 A Rule 60(b)(6) motion is also inappropriate for seeking relief in Scott’s criminal
case; Federal Rule of Civil Procedure Rule 60(b) does not apply to criminal cases.
See United States v. Mosavi , 138 F.3d 1365, 1366 (11th Cir. 1998).
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Banks v. Sec’y, Florida Dep’t of Corr. , 491 F. App’x 966, 969 (11th Cir.

2012).

      The substance of Scott’s Rule 60 motion bespeaks a simple

amendment to his § 2255 motion, see doc. 1273 (arguing that telephone

conversations introduced at trial violated the confrontation clause and

counsel [wa]s ineffective for failing to object to their use at trial), 2 which

the Court will reach in a forthcoming Report and Recommendation.

Otherwise, Movant Rodney L. Scott’s Rule 60(b)(6) motion is DENIED

as moot.

      SO ORDERED , this 12th day of September, 2016.



                                        UNITED STATES MAGISTRATE RIDGE
                                        SOUTHERN DISTRICT OF GEORGIA




2
     Of course, the Confrontation Clause applies only to “testimonial” statements.
Private conversations not made under examination are likely non-testimonial, see
United States v. Brown , 441 F.3d 1330, 1359-60 (11th Cir. 2006), so if those
statements were properly admitted, a claim for ineffective assistance of counsel is
unlikely to succeed.
                                         2
